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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

PUBLIC CITIZEN, INC.,                           )
                                                )
                        Plaintiff,              )
                                                )
                v.                              )       C.A. No. 1:17-cv-02582-RC
                                                )
UNITED STATES DEPARTMENT OF                     )
HOUSING AND URBAN                               )
DEVELOPMENT,                                    )
                                                )
                        Defendant.              )
                                                )

                                     JOINT STATUS REPORT

        Pursuant to the Court’s May 7, 2018, Minute Order, Plaintiff Public Citizen, Inc. and

Defendant United States Department of Housing and Urban Development (“HUD”) submit this

Joint Status Report.

        The parties agree that the only remaining issue in this case is attorneys’ fees and costs. To

allow time for the parties to attempt to resolve this issue without further involvement of the

Court, the parties propose that they attempt to negotiate a resolution and that, by July 31, 2018,

either the parties submit a joint stipulation of dismissal, or plaintiff files its petition for an award

of attorneys’ fees and costs.

Dated: June 7, 2018                             Respectfully submitted,

                                                /s/ Rebecca Smullin
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